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case 2:01-cr-20085-Bewmmnmsmwms BistiCZB/@bvii@l®€ 1 01°5 PaQelD 452
for

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wEsTERN DIvIsIoN 05 JUL 25 Ang,. 38

U.S.A. vs. Ra!mond Keith McKee

 

2:01CR20085-10

 

 

Petition on Probation and Supervised Release

COMES NOW G§raid Hunt PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Ray@ond Keith McKee who was placed on supervision by the Honorable
Julia Smith Gibbons sitting in the court at Mem `s TN on the llth day of FebM , 2002 who fixed the
period of supervision at three 13 [ years* , and imposed the general terms and conditions theretofore adopted by the
court and also imposed special conditions and terms as follows:

 

l. The defendant shall participate in a drug treatment/testing program as directed by the Probation Office.

*Supervised Release began on July 25, 2003.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(I£ short insist h¢r¢; if lengthy write on ¢¢p¢rlt¢ shut l.nd att\oh)

SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER a Warrant be issued for Raymond Keith McKee to appear before
the Unitcd States District Court to answer charges of violation of Supervised Release.

BOND:
ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct.
Considered and ordered thisé-L day

   

’ Executed

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‘ 44 U. S.Probation Oflicer

Place

 

 

 
    

' States DistnctJudge

 

This documententerad onthe docket ’f? L r ' nce
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lum Mylllolltl l\eltll McKee

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Page

RESPECTFULLY PRESENTING PETITION FOR AC'I`ION OF COURT FOR CAUSE AS FOLLOWS:
The defendant has violated the following conditions of his Supervised Release:

The defendant shall not commit another federal, state, or local crime.

On December ll, 2004, Mr. McKee assaulted his girlfriend, Emilee Dudas. Emilee Dudas suffered a bruised right
eye, a bruise on her left cheek and bruises on both left and right arms. Mr. McKee was subsequently arrested and
charged with Simple Assault- Domestic. On January 27, 2005, Mr. McKee appeared in Ripley, TN General Sessions
Court and plead guilty to the above mentioned charge and was sentenced to 30 days imprisonment A portion of the
jail sentence was suspended due to good behavior.

On June 26, 2005, Raymond McKee was arrested by Ripley, TN Police and charged with TheR Class D. An
investigation by Lt. C. S. Sanders revealed that Rayrnond McKee stole three pop-off valves from Cleveland Street
Valve Company and attempted to sell them. Mr. McKee was released on a $2,500.00 bond. He is scheduled to appear
on July 15, 2005 in General Sessions Court in Lauderdale County.

The defendant shall not illegally possess a controlled Substance.

Mr. McKee signed a voluntary admission form stating he used marijuana on 08-22-03. He also tested positive for
marijuana on 10-16-03 and cocaine on 1-18-05.

The defendant shall participate in drug treatment/testing as directed by Probation Officer.

On July 25, 2003, Mr. McKee was referred to Professionai Counseling Center for drug treatment/testing
Since the referral, Mr, McKee failed to attend 24 drug counseling sessions and failed to submit to 24 drug screens.
On June 3 , 2005, Mr. McKee was discharged from Professional Counseling Centerdue to continuous non-compliance

with treatment

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Page|D 454

 

 

 

 

 

VIOLATION WORKSHEET
l. Defendant Raymond Keith McKee, 4753 Hwy. 19 W., Ripley, TN 38063
2 Docket Number (Year-Sequence-Defendant No.) 2:01CR20085-10
3. District/Office Westem District of Tennessee (Memphis)
4 Original Sentence _02_ ll 1___ l M_
Date month day year
(]f different than above):
5. Original District/Of|’ice
6. Origioal Docket Number (Year-Sequence-Defendant No.)
7. List each violation and determine the applicable grade w §7Bl.l}:

10.

11.

 

 

 

Violation{sl w
New Misdemeanor Crirninal Conduct - Simple Assanlt - Domestic. C
0 New Felony Criminal Conduct - Theit Class D B
Use of a Contro||ed substance B
Failure to participate in drug treatment/testing C

 

 

 

 

Most Serious Grade of Violation (s__e£ §7B1.l(b))

Criminal History Category (_s_e_e §7Bi.4(a)}74

Range of imprisonment (§g §7Bl.4(a))

III

 

 

8 -14

 

months

 

*Beilg originally convicted of a Class C Felony, the statutory maximum term of imprisonment is two (2) years; 18 U.S.C.

§3583(e)(3).

Sentencing Options for Grade B and C Violations Only (Check the appropriate box):

{ } (a)lf the minimum term of imprisonment determined under §7B l .4 (Term of Imprisonment) is at least one month but not

more than six months, §7Bl .3(c)(l) provides sentencing options to imprisonment

{ X } (b)If the minimum term of imprisonment determined under §7B l .4 (Term of lmprisonment) is more than six months but

not more than ten months, §7B l .3(c)(2) provides sentencing options to imprisonment

{ } (c)If the minimum term of imprisonment determined under §7BI .4 (Term of Imprisonment) is more than ten months, no

sentencing options to imprisonment are available

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W

12.

13.

14.

15.

°'"W 1"""' W“h'lls¢°ll,D-C-,ZM.Attention: Monitoring Uni¢
Case 2:01-Cr-20085-BBD Document 400 Filed 07/25/05 Page 4 of 5 Page|D 455

Defendant Raymond Keith McKee

Unsatisfied Conditions of ()riginal Sentence

List any restitution, fine, community coniinement, home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {B §7B l .3(d)}:

 

 

 

 

Restitution ($) N/A Community Confinement N/A
Fine ($) N/A Home Detention N/A
Other N/A Intermittent Conlinement N/A
Supervised Release

If probation is to be revoked1 determine the length, if any, of the term of supervised release according to the provisions of §§51)1 . l-
1.3{@ §§7B1.3(g)(1)}.

Term: to years
If supervised release is revoked and the term of imprisonment imposed is less than the maximum tenn of imprisonment impossible
upon revocation, the defenth may, to the extent permitted by law, be ordered to recommence supervised release upon release
from imprisonment {§_eg 18 U.S.C. §3583(¢) and §7Bl.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

 

Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Ofiicial Detention Adjustment {_s£e_ §7B l .3(e)}: months days

Mail documents to: United Statol Senteuciug Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Mooitoring Unit‘

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 400 in
case 2:01-CR-20085 Was distributed by fax, mail, or direct printing on
July 28, 2005 to the parties listed

 

 

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Financial Unit
FINANCIAL UNIT
167 N. Main St.

Ste. 242

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

